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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA )
) No. 16 CR 109

V. )
) Violations: Title 18, United
) States Code, Sections
) 922(g)(1) and 924(e), and
) Title 21, United States Code
)

Section 841(a)(1) . _
| LOGE Diy

MATISTRARE JUDGE GILBERD.
The SPECIAL JANUARY 2015 GRAND JURY charges:

RALPH GARCIA

COUNT ONE

On or about November 24, 2014, at Joliet, in the Northern District of

Ilhnois, Eastern Division,
RALPH GARCIA

defendant herein, did knowingly and intentionally distribute a controlled

substance, namely, 50 grams or more of methamphetamine (actual), a

Schedule II Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1).

FILED

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THOMAS T ARLITON

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COUNT TWO
The SPECIAL JANUARY 2015 GRAND JURY further charges:

On or about December 15, 2014, at Joliet, in the Northern District of

Illinois, Eastern Division,
RALPH GARCIA

defendant herein, did knowingly and intentionally distribute a controlled
substance, namely, 50 grams or more of methamphetamine (actual), a

Schedule II Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1).
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COUNT THREE
The SPECIAL JANUARY 2015 GRAND JURY further charges:
On or about January 23, 2015, at Joliet, in the Northern District of
Illinois, Eastern Division,
RALPH GARCIA
defendant herein, previously having been convicted of a crime punishable by a
term of imprisonment exceeding one year, did knowingly possess, in and
affecting interstate commerce, a firearm, namely, a Taurus Revolver, model
856, .38 caliber, bearing serial number DW62612, which firearm had traveled
in interstate commerce prior to the defendant’s possession of the firearm;
In violation of Title 18, United States Code, Section 922(g)(1) and

924(c).
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COUNT FOUR
The SPECIAL JANUARY 2015 GRAND JURY further charges:

On or about January 238, 2015, at Joliet, in the Northern District of

Tllinois, Eastern Division,
RALPH GARCIA

defendant herein, did knowingly and intentionally distribute a controlled
substance, namely, 50 grams or more of methamphetamine (actual), a

Schedule IT Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1).

A TRUE BILL:

 

FOREPERSON
